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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )            CR 112-176
                                             )
MELVIN CHRISTOPHER CARTER                    )
                                         _________

                                         ORDER
                                         _________

       Before the Court are the various pre-trial discovery motions filed by Defendant.

Many (if not all) discovery issues should be addressed in full by the Court’s rulings below

and the liberal discovery policy that the government has confirmed it is applying in this case.

Indeed, Defendant does not allege any specific inadequacies in the discovery provided by the

government to date, and the government states it has furnished Defendant with one DVD

containing an electronic copy of the investigative file, video recordings, and other documents

which are material to the case, excepting attorney and agent work product. (Doc. no. 184, p.

1.) All known statements by Defendant, as well as any criminal record for Defendant, have

also been provided. (Id. at 1, 2.)

       To the extent, if any, either party believes there are specific inadequacies in the

discovery exchanged to date that are not addressed below, the Court directs such party to

confer in good faith with the opposing party and file, if necessary, a discovery motion and

supporting brief within seven days from the date of this Order.
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                MOTION FOR LIST OF GOVERNMENT WITNESSES

       Defendant requests an order directing the government to furnish a complete list of

witnesses. In non-capital cases such as this case, a defendant is generally not entitled to a list

of government witnesses. United States v. Massell, 823 F.2d 1503, 1509 (11th Cir. 1987);

United States v. Johnson, 713 F.2d 654, 659 (11th Cir. 1983); United States v. Colson, 662

F.2d 1389, 1391 (11th Cir. 1981). While this Court retains the right to exercise its discretion

in permitting Defendant to have access to a list of government witnesses, at most the

government would be required to comply with this request not more than fourteen days prior

to trial. Therefore, the Court DENIES this motion. (Doc. no. 178.) However, as a practical

matter, it would appear that Defendant will be receiving much of this information because of

the government’s liberal discovery policy and because of the government’s obligation to

disclose material pursuant to the Jencks Act and/or Brady v. Maryland, 373 U.S. 83 (1963).

              MOTION FOR NOTICE BY THE GOVERNMENT OF THE
             INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
               PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

       Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 179)

because the Court, in its Arraignment Order, directed the government to provide such notice

in accordance with the Local Rules.

                         MOTION TO PROVIDE TRANSCRIPTS
                          OF GRAND JURY PROCEEDINGS

       Defendant moves to disclose grand jury proceedings, including a transcript thereof.

As the government states it produced the grand jury transcripts to defense counsel on January
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6, 2017, the motion is MOOT. (Doc. no. 180.)

                        MOTION FOR DISCLOSURE OF
                  EXCULPATORY AND IMPEACHING MATERIAL

       Defendant seeks the disclosure of exculpatory and impeaching information in

accordance with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v.

United States, 405 U.S. 150 (1972). (Doc. no. 181.) To some extent, Defendant’s request

exceeds the scope of the requirement in Brady for government disclosure of information that

is favorable to a defendant and material to the issues of guilt or punishment. Brady, 373 U.S.

at 87; United States v. Agurs, 427 U.S. 97 (1976). The Court GRANTS the motion to the

extent that the government must provide all Brady material to Defendant within five days of

the date it is received or its existence becomes known. The government must disclose

impeaching information not less than fourteen days prior to trial.

        MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

       The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant

with statements of witnesses immediately following their testimony in court. There is no

authority for the Court to grant an early release or disclosure of that material. United States

v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,

1251 & n.78 (11th Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir.

1980). Yet because the government does not oppose the motion and early disclosure of

Jencks Act material will avoid unnecessary delay and inconvenience to the Court and jury,




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the government is INSTRUCTED to provide Jencks Act material fourteen days prior to trial.

(Doc. no. 182.)

       SO ORDERED this 31st day of January, 2017, at Augusta, Georgia.




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